                                                                             DISTRICT OF OREGON
                                                                                  FILED
                                                                               September 10, 2019
                                                                           Clerk, U.S. Bankruptcy Court



 Below is a judgment of the court. If the judgment is for
 money, the applicable judgment interest rate is: Not
 applicable.




                                                                       _____________________________
                                                                              TRISH M. BROWN
                                                                            U.S. Bankruptcy Judge




                        UNITED STATES BANKRUPTCY COURT
                     DISTRICT OF OREGON — PORTLAND DIVISION

In re:
                                             Case No. 16-33674-tmb7
Michael A. McCartney,
                                             Adv. Proc. No. 19-3018-tmb
                      Debtor.
                                             STIPULATED JUDGMENT OF DISMISSAL
Michael A. McCartney,                        WITH PREJUDICE

                      Plaintiff

                     v.

National Collegiate Student Loan Trust
2007-4, A Delaware Statutory Trust,

                      Defendant.



         Come now both parties, following settlement of the instant matter, by and through

respective undersigned counsel hereby stipulate and agree to entry of judgment as follows:



 Page 1 of 2 ─ Stipulated Judgment of Dismissal                               Mertens Law, LLC
                                                                          4411 NE Tillamook St.
                                                                             Portland, OR 97213
                                                             T (503) 836.7673 | F (503) 213.6000
                                                                   Chris@MertensCSBLaw.com


                      Case 19-03018-tmb        Doc 27    Filed 09/10/19
       The instant matter is hereby dismissed with prejudice, with each side bearing their own

fees and costs.

                                            ###




       Agreed to by:

        MERTENS LAW, LLC                    SESSIONS, FISHMAN,             NATHAN        &
                                            ISRAEL, LLP


        s/ Chris Mertens                    s/ James K. Schultz
        Chris Mertens, OSB No. 092230       James K. Schultz, Admitted Pro Hac Vice
        Mertens Law LLC                     Sessions, Fishman, Nathan & Israel, LLP
        4411 NE Tillamook St                1545 Hotel Circle South, Ste 150
        Portland, Oregon 97213              San Diego, CA 92108-3426
        Chris@MertensCSBLaw.com             drichard@sessions.legal
        Tel: 503-836-7673                   Tel: 619-758-1891
         Attorney for Plaintiff/Debtor         Of Attorney for Defendant/Creditor




       Respectfully Submitted this 5th day of September, 2019.

       /s/ Chris Mertens
       Chris Mertens, OSB No. 092230
       Attorney for Plaintiff/Debtor


       Parties without ECF notice:

       James K. Schultz on behalf of Defendant National Collegiate Student Loan Trust 2007-4
       Sessions, Fishman, Nathan & Israel LLP
       1545 Hotel Circle So. #150
       San Diego, CA 92108



 Page 2 of 2 ─ Stipulated Judgment of Dismissal                              Mertens Law, LLC
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